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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                   Judge Christine M. Arguello

   Civil Action No. 09-cv-01632-CMA-NYW

   MARK SMITH, individually and on behalf of other similarly situated persons,

             Plaintiff,

   v.

   PIZZA HUT, INC.,

             Defendant.


                                  ORDER GRANTING APPROVAL
                                       OF SETTLEMENT


   WHEREAS:

        A.       On March 20, 2015, Plaintiffs in the above-captioned action (the “Action”) filed

                 with this Court an Unopposed Motion for Approval of Collective Action

                 Settlement (Doc. # 464), and submitted to the Court the parties’ Confidential

                 Settlement Agreement and Release of Claims (“Settlement”).

        B.       This Court has reviewed the submissions presented with respect to the

                 Settlement.

        C.       All capitalized terms in this Order Granting Approval of Settlement (“Approval

                 Order”) that are not otherwise defined have the same meaning as in the

                 Settlement Agreement.
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   NOW THEREFORE, after due deliberation, this Court hereby ORDERS that:

      1.    The parties Unopposed Motion to Approve Collective Action Settlement (Doc.

            # 464) is GRANTED.

      2.    This Approval Order will be binding on the Named Plaintiff and Drivers, as

            defined in the Settlement Agreement.

      3.    The Settlement is fair, reasonable, and adequate, is in the best interests of

            the Class Members and should be approved, especially in light of the benefits

            to the Class Members accruing therefrom, the substantial discovery and

            investigation conducted by Counsel prior to the proposed Settlement, and the

            complexity, expense, risks, and probable protracted duration of further

            litigation.

      4.    The Settlement is hereby approved in accordance with Section 216 of the Fair

            Labor Standards Act and shall be consummated in accordance with its terms.

      5.    The service award to the Named Plaintiff as set forth in the Settlement is

            hereby approved in accordance with the terms of the Settlement.

      6.    Class Counsel’s attorneys’ fees and expenses in the amounts set forth in the

            Settlement are hereby approved.

      7.    Without affecting the finality of this Order of Approval, this Court retains

            exclusive jurisdiction over the consummation, performance, administration,

            effectuation, and enforcement of this Order of Approval. In addition, without

            affecting the finality of this Order of Approval, this Court retains jurisdiction

            over Defendant, the Named Plaintiff, and each Driver for the purpose of


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             enabling any of them to apply to the Court for such further orders and

             directions as may be necessary or appropriate for the construction and

             implementation of the terms of the Settlement and this Order of Approval.

      8.     This Action is hereby DISMISSED in its entirety, on the merits, as against

             Defendant WITH PREJUDICE, and without costs to any party, except to the

             extent otherwise expressly provided in the Settlement. This Court intends this

             Order of Approval to be “Final” within the meaning of the Federal Rules of

             Civil Procedure and the Federal Rules of Appellate Procedure.

   IT IS SO ORDERED.

           DATED: March     26     , 2015

                                                  BY THE COURT:



                                                  _______________________________
                                                  CHRISTINE M. ARGUELLO
                                                  United States District Judge




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